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                                                                  AUSA:       Carl Gilmer-Hill               Telephone: (313) 226-9585
     AO 91 (Rev. 11/11) Criminal Complaint             Agent:                 E rin B. Leipold               Telephone: (313) 226-8246

                                             UNITED STATES DISTRICT COURT
                                                                    for the
                                                       Eastern District of Michigan

     United States of America                                                                    Case: 2:21−mj−30286
        v.                                                                                       Assigned To : Unassigned
     COLE PATRICK CASTELOW                                                      Case No.
                                                                                                 Assign. Date : 6/9/2021
                                                                                                 Description: RE: SEALED MATTER
                                                                                                 (EOB)




                                                         CRIMINAL COMPLAINT

              I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

           On or about the date(s) of               March 2019-October 2019_           in the county of ____
                                                                                                           O_a_kl_a_n___
                                                                                                                     d   in the
     ___E_a_st_em
                ___ District of                 Michigan         , the defendant(s) violated:
                       Code Section                                             Offense Description
     18 U.S.C. § 1708                                       Mail Theft

     18 U.S.C. § 1028A                                      Aggravated Identity Theft

     18 u.s.c § 1029                                        Access Device Fraud




              This criminal complaint is based on these facts:




     [Z] Continued on the attached sheet.



                                                                                                  Printed name and title
     Sworn to before me and signed in my presence
     and/or by reliable electronic means.

            June 9, 2021 ___
     Date: _______                                                                                  Judge 's signature

     City and state: _.D
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                                   MI=-------------                           David R. Grand - U.S. Magistrate Judge
                                                                                                  Printed name and title




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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MICHIGAN

IN THE MATTER OF:
                                                   Case No. ____________________
COLE PATRICK CASTELOW
DATE OF BIRTH: XX/XX/1993                          Filed Under Seal



                AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

       I, Erin B. Leipold, being first duly sworn, hereby depose and state as follows:

                      INTRODUCTION AND AGENT BACKGROUND

       1.      I am a Postal Inspector with the United States Postal Inspection Service (USPIS)

and have been so employed since January 2008. As part of my duties as a U.S. Postal Inspector,

I conduct investigations of offenses involving mail theft, identity theft, access device fraud, and

other financial crimes. I have worked this investigation in conjunction with the Bloomfield

Township Police Department and the West Bloomfield Township Police Department. This

affidavit is based on my personal knowledge, observations, training, and experience as well as

information obtained from documents, electronic databases, witnesses, and other law

enforcement agents involved in this investigation. The information contained in this affidavit is

provided for the purpose of establishing probable cause for a criminal complaint, and thus, it

does not contain all the details of the case known to me.

       2.      Based on the facts set forth in this affidavit, there is probable cause to believe that

violations of Mail Theft, in violation of 18 U.S.C. § 1708, Aggravated Identity Theft, in violation

of 18 U.S.C. § 1028A, and Access Device Fraud, in violation of 18 U.S.C § 1029 have been

committed by Cole CASTELOW.
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       3.      Search warrants 5:19-mc-51439-1, 5:19-mc-51439-2, 5:19-mc-51439-9, 5:19-mc-

51439-10 and 5:19-mc-51439-12, were previously obtained by Affiant in order to search

CASTELOW’s residence, several electronic devices seized as a result of the search warrant

executed at CASTELOW’s residence, a vehicle CASTELOW is known to drive, and an iPhone

located within that vehicle.

       4.      Based on the facts set forth in this affidavit, there is probable cause to believe that

COLE CASTELOW (xx/xx/1993) has engaged in a fraud scheme involving the theft and

criminal misuse of personal identifying information (PII). Searches of his residence, a vehicle he

was known to drive, and electronic devices seized during the search of his residence and that

vehicle identified additional evidence related to an ongoing fraud scheme involving the theft and

criminal misuse of personal identifying information (PII) in order to acquire and misuse retail

credit accounts.



                                          PROBABLE CAUSE

       5.      The U.S. Postal Inspection Service investigated numerous reports of mail thefts in

Southfield, Michigan, and surrounding communities on a continuing basis from late 2018 into

2019. Residents of these communities reported finding rifled mail in various outdoor spaces

such as ditches or wooded areas, awaking in the morning to find all the mailboxes on their street

were open, or learning that checks or other negotiable items they were expecting to be delivered

via the U.S. Mail were intercepted and negotiated by an unknown party.

       6.      In March 2019, a resident of the Seven Oaks Post Office delivery area in Detroit

(48235) reported finding trash bags full of mail in an alley behind their home on three separate



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occasions. Postal Inspectors retrieved these bags of mail and found that they contained mailings

for a variety of addresses in the Southfield area and surrounding communities.

       7.      Since the discovery of this abandoned mail reports of mail theft in the areas of

Bloomfield Township, West Bloomfield, Novi, Northville, Farmington Hills, Franklin, and

Beverly Hills, Michigan continued to be received by local policing authorities. Several suspects

were developed as a result of this investigation and it appears that these subjects are working in

concert to perpetrate mail thefts and associated financial crimes.

       8.      In March 2019, Affiant obtained several police reports from the Franklin,

Michigan, Police Department that related to this investigation. One of those reports detailed the

theft of several business checks placed as outgoing mail in the mailbox belonging to M.G.S.,

who resided on Woodside Drive in Franklin. This complainant reported that four of those checks

had been cashed, which amounted to a total of $13,599.51. The complainant provided Franklin

Police Department with copies of the four checks they knew to have been cashed.

       9.      Affiant also obtained a report from Franklin Police Department that detailed the

theft of a Bank of America debit card from the mailbox of a resident of Hickory Lane in Franklin

on February 28, 2019. This debit card was used in an attempt to make $1,080.45 in purchases

from a Target in Farmington Hills on March 8, 2019. Detective Bastianelli, employed by the

Franklin Police Department, obtained surveillance footage of the individuals responsible for the

transactions at Target. That surveillance showed a younger male, later identified as Cole

CASTELOW, and an unidentified female who were connected to a black Toyota Camry bearing

license plate DSS 0538. Detective Bastianelli learned through his investigation that the Toyota

Camry was an Enterprise rental. This vehicle was rented to Deavon ALLEN, who provided his

address as 17360 Murray Hill, Detroit, MI 48235.

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       10.     Affiant contacted Investigator Finocchario, employed by Bank of America,

regarding the stolen business checks reported by M.G.S. to the Franklin Police Department. This

investigator researched the checks in their records system and found that the checks had been

negotiated using Bank of America accounts in the names of Deavon ALLEN, Kemani

PERRYMAN, James MANN, and Bobbie JACKSON. Bank of America records show that

numerous other checks made payable to parties residing in the same areas from which the stolen

checks had originated were also deposited into these accounts. Other transaction activity in the

accounts was reviewed and several Zelle transfers to Chaste DAVIS and Ronald REESE were

made using the accounts of ALLEN and MANN. ATM surveillance from the deposits of these

checks was obtained and reviewed. These images were compared to known State of Michigan

driver’s license images for the subjects of this investigation. ALLEN, MANN, JACKSON, and

CASTELOW are seen in the ATM surveillance footage. ALLEN is seen driving the black

Toyota Camry bearing license plate DSS 0538 previously mentioned, while making a deposit of

a check confirmed to have been stolen to the account of MANN on March 18, 2019. ALLEN

and JACKSON are seen together on February 26, 2019, depositing two of the stolen checks from

Franklin to their respective accounts. REESE is also seen at an ATM transaction with ALLEN

on April 4, 2019, during which ALLEN deposits a check stolen from Farmington Hills,

Michigan, to ALLEN’s account. CASTELOW was seen in the ATM surveillance provided by

Bank of America at an ATM deposit of one of the stolen checks from Franklin to the account of

Kemani PERRYMAN. CASTELOW is seen wearing a unique jean jacket at this deposit, which

was later found during the search of his residence. CASTELOW was also seen driving a blue

Chevrolet Cruze bearing Michigan license plate DHD 9305 at a transaction involving a deposit

to MANN’s account, and seen driving a white Chevrolet Trax bearing Michigan license plate

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DZC 2188 (herein Subject Vehicle) at an ATM transaction involving the deposit of a

convenience check to the account of Darrell FLOURNOY.

       11.     Research in investigative databases on the Michigan license plate DHD 9305

found it is registered to Kianna CRAWFORD-JACOBS at 18635 Tracey St, Detroit, MI 48235.

Research determined the Subject Vehicle is registered to Patricia CASTELOW at 18404

Ardmore, Detroit, MI 48235 (herein Subject Premises).

       12.     In July 2019, Detective Moschel of the Bloomfield Township Police Department

provided Affiant with police reports filed with his department relating to mail theft. Two of

those reports, 19-18003 and 19-17576, specifically include details of a blue Chevrolet Cruze

connected with the mail theft incidents. On July 6, 2019, a witness reported seeing a blue

Chevrolet Cruze bearing license plate DHD 9305 pulled up alongside a mailbox in the

neighborhood that was running and occupied by three male subjects. The witness saw the driver

of the vehicle close the lid of the mailbox and speed away from the area.

       13.     On June 27, 2019, postal inspectors interviewed PERRYMAN regarding this

investigation. She stated she had no knowledge of the negotiation of stolen checks using her

Bank of America account. PERRYMAN stated she had not had possession of the ATM debit

card associated with the account since she and her boyfriend, Lavelle HALL, broke up in March

2019. Affiant showed PERRYMAN a photo of CASTELOW, whose identity was unknown at

the time but had been seen in Target surveillance footage and ATM surveillance footage driving

the Chevrolet Cruz registered to CRAWFORD-JACOBS. This surveillance photo was taken at

an ATM transaction on March 10, 2019, which related to the deposit of one of the stolen

Franklin business checks to PERRYMAN’s Bank of America account. PERRYMAN replied

“that’s Cole” and explained that he was a friend of HALL’s. Though she did not know Cole’s

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last name, she provided additional information related to Hall and his social media identity,

“Rico Lavelle”.

       14.     Affiant researched “Rico Lavelle” on Facebook and found the page

https://www.facebook.com/rico.lavelle.3511 which matched the information provided by

PERRYMAN. Affiant searched the “friends” list of this page and found

https://www.facebook.com/cole.castelow, a page belonging to Cole CASTELOW. Affiant

compared the photos on this Facebook page with the ATM surveillance photos of CASTELOW

and determined they were one in the same person. In addition, Affiant found that CASTELOW

is “Friends” with ALLEN, whose Facebook page is https://www.facebook.com/deavon.allen.

       15.     Affiant researched CASTELOW in investigative databases and found that his

Michigan operator license record lists his address as the Subject Premises, the same address

where the Subject Vehicle is registered to Patricia CASTELOW.

       16.     In July 2019, Affiant obtained report 19-9632 from the West Bloomfield

Township Police Department, which detailed theft of mail from a resident of West Bloomfield

Township and the subsequent take-over of their credit accounts. Specifically, the complainant

reported that their mail was stolen in April 2019. In May 2019 they received notification that

someone had changed the address associated with their credit card account to the Subject

Premises. Fraudulent charges had been made to the complainant’s credit account. In addition,

the email address associated with the account had been changed to cole.castelow@gmail.com.

       17.     On the morning of July 16, 2019, Affiant drove by the Subject Premises and

observed a blue Chevrolet Cruze bearing license plate DHD 9305 in the driveway associated

with the residence. This vehicle was seen on several occasions at this address from that date

through the end of July 2019.

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       18.     Affiant and other investigating agents have also seen the Subject Vehicle parked

in the driveway or in the street alongside the Subject Premises on numerous occasions during the

course of this investigation.

       19.     In August 2019, Affiant obtained report 19-19099 from the Northville Township

Police Department, which detailed theft of mail from a neighborhood in Northville, Michigan.

The witness in this report states he saw an unknown man rummaging through a group of

mailboxes located behind his home. When the witness saw the man, the witness yelled out to

ask the man what he was doing. The man then got into the vehicle he was driving, a silver

Mitsubishi, with what appeared to be a handful of mail and drove away. The witness took a

picture of the man and the vehicle he was driving prior to his departure. The license plate

number was captured in this photograph, which was Louisiana plate N534519. Research on this

license plate found it was registered to Avis Budget Car Rental. Contact was made with a

security officer at Avis, who advised the vehicle in question had been rented in the name of

Patricia CASTELOW, who provided her address as the Subject Premises. Note that the man

pictured in the photograph taken by the witness has the same physical characteristics as Cole

CASTELOW.

       20.     On August 9, 2019, postal inspectors retrieved trash abandoned in a trash

receptacle in front of the Subject Premises. Items relevant to this investigation were found inside

the trash, to include receipts from a Meijer store located in Northville, Michigan, dated August 3,

2019. These receipts related to the purchase of an iPhone and airtime card in the amount of

$510.59, and a purchase that included a gift card in the amount of $557.88. The purchase of the

iPhone and airtime card indicated it was made using an American Express credit card.



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         21.   Affiant contacted American Express and requested information on the cardholder

whose credit card was used fund the transaction. Affiant was informed that the credit card

belongs to E.P., whose mailing address is located in Livonia, Michigan. American Express

identified three known fraudulent transactions on the credit card belonging to E.P., which totaled

$1259.

         22.   On September 24, 2019, Affiant attempted to call E.P. at his/her last known

residence in Livonia, Michigan. Affiant was able to make contact with a member of E.P.’s

family, who stated he/she lives out of state.

         23.   On September 13, 2019, postal inspectors retrieved trash abandoned in a trash

receptacle in front of the Subject Premises. Inside that trash were several items relevant to this

investigation. There were several receipts from Whole Foods in West Bloomfield, Michigan,

dated August 19, 2019. These receipts related to the purchase and activation of three gift cards

and showed an American Express credit card was used as payment. There was also an open

envelope with postage affixed on the outside, which contained credit card information to make a

payment related to a medical bill in the name of E.M. at an address in South Lyon, Michigan.

Finally, there was a Meijer receipt dated September 7, 2019, which related to the purchase of gift

cards using an American Express credit card in Northville, Michigan.

         24.   Affiant contacted staff at Whole Foods in West Bloomfield and requested video

footage and transactional information relating to the purchase of the gift cards on August 19,

2019. The total of that transaction was $317.85. Affiant received detailed information on the

transaction and footage from several surveillance cameras located in Whole Foods. After

watching the video footage Affiant determined Cole CASTELOW was responsible for the

transaction. Affiant then contacted American Express and requested information on the

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cardholder whose credit card was used fund the transaction. Affiant was informed that the credit

card belongs to S.E., who has a secondary card connected to the credit account of D.G.

American Express identified five known fraudulent transactions on the credit card belonging to

S.E., which totaled $1841.54.

       25.     Investigating agents contacted D.G., a resident of Commerce Township,

Michigan. D.G. advised S.E. is an employee of his/hers and the credit card he/she ordered for

S.E. to be used for office expenses was never received via U.S. Mail. Shortly thereafter, D.G.

learned there were several thousand dollars in fraudulent charges made to his/her American

Express account in connection with the missing credit card.

       26.     On September 20, 2019, investigating agents contacted E.M. regarding the

medical bill payment mailing found in the trash at the Subject Premises. E.M. stated that

sometime in August 2019, he/she placed the envelope containing payment information in his/her

mailbox to be picked up by the letter carrier. The mailing contained his/her full 16-digit credit

card number, CVV number, and the expiration date for his/her J.P. Morgan Chase credit card.

Shortly thereafter, E.M. learned there had been three fraudulent transactions on this credit card

account, which all took place in the city of Detroit.

       27.     Finally, Affiant requested transaction information related to the Meijer receipts

found in the trash at the Subject Premises. These receipts related to the purchase of gift cards at

the Meijer located on Haggerty Road in Northville on September 7, 2019. The total of that

transaction was $1,042.98. Meijer provided video footage of the individual responsible for the

transactions, the name of the cardholder and their partial credit card number. Cole CASTELOW

is shown purchasing these gift cards in the video footage and an American Express credit card



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belonging to P.S. was used to fund the transactions. Affiant then contacted American Express

and requested information on the cardholder whose credit card was used fund the transaction.

       28.     On September 24, 2019, Affiant attempted to contact P.S. at his/her last known

residence in Northville, Michigan. Affiant was able to make contact with J.B. who stated he/she

was aware of fraudulent charges made to the American Express card in question. J.B. advised

he/she made P.S. an authorized user on his/her American Express credit card account while they

were visiting the United States several years ago. J.B. retrieved the card from P.S. upon their

departure and the credit card has not been used legitimately since then. J.B. stated he/she

recently received a new American Express card via mail and believed one must have been

mailed in the name of P.S. too, which was never received.

       29.     Search warrants for the Subject Premises and the Subject Vehicle were issued by

the United States District Court for the Eastern District of Michigan on October 1, 2019. These

search warrants were executed on October 2, 2019. Amongst other things, the search warrants

authorized the seizure of materials relevant to the crimes of Identity Theft and/or Access Device

Fraud, including electronic devices.

       30.     The search of the Subject Premises located numerous personal and business

checks, convenience checks, and credit cards belonging to a variety of individuals who do not

reside there. In addition, U.S. passports and identification belonging to a variety of individuals,

including children, who are not residents of the Subject Premises were also found. Finally,

investigating agents found mailings addressed to several individuals at various addresses in the

metro Detroit area, including Southfield and surrounding areas, during the search of the Subject

Premises. Some of these mailings were addressed to victims already known to this investigation.

For example, a mailing that contained an American Express credit card belonging to E.P.,

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introduced in paragraph 21, was located. The majority of these items were located within a

bedroom identified as belonging to CASTELOW.

        31.    CASTELOW arrived at the Subject Premises driving the Subject Vehicle after the

search of the Subject Premises had already commenced. According to CASTELOW’s mother,

he was in possession of the Subject Vehicle overnight while visiting the mother of his child in

Oak Park, MI. Four credit cards in the names of four different individuals who are not residents

of the Subject Premises were found on CASTELOW’s person when he was searched by

investigating agents upon arrival. CASTELOW told these agents that he found the credit cards.

When investigating agents subsequently interviewed CASTELOW he admitted that he had been

stealing mail for approximately a year. He said that he targets affluent areas for his mail theft

activities.

        32.    A search warrant was also obtained for an iPhone seized as a result of the search

of the Subject Vehicle, and an extraction of stored data was performed on that phone. The email

address cole.castelow11@gmail.com and phone number (313) 241-2122 was associated with this

phone. The data extraction performed on the device identified evidence indicative of an identity

theft and financial fraud scheme. This includes victim PII as well as numerous images of

mailings in various names that were addressed to various individuals in West Bloomfield,

Bloomfield Hills, Novi, Farmington Hills, and South Lyon, Michigan.

        33.    This investigation has identified more than 800 victims, most of whom reside in

the metro Detroit area. It appears several suspects identified through this investigation, including

Cole CASTELOW, stole mail from residents in the metro Detroit area on a continuing basis

between 2018 and 2019. They obtained items of value, including checks, credit cards, credit



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       David R. Grand
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       June 9, 2021




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